            Case 1:17-vv-00628-UNJ Document 57 Filed 04/24/20 Page 1 of 9




                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 17-628V
                                          (not to be published)

*************************
CAMERON SHARP,             *
                           *
                           *                                     Chief Special Master Corcoran
                           *
               Petitioner, *                                     Filed: March 25, 2020
                           *
          v.               *
                           *                                     Decision by Stipulation; Influenza Vaccine;
SECRETARY OF HEALTH        *                                     Chronic Inflammatory Demyelinating
AND HUMAN SERVICES,        *                                     Polyneuropathy.
                           *
               Respondent. *
                           *
*************************

Amber D. Wilson, Maglio Christopher & Toale, P.A., Washington, D.C., for Petitioner.

Camille M. Collett, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                                      DECISION ON STIPULATION 1

        On May 11, 2017, Cameron Sharp filed a petition seeking compensation under the National
Vaccine Injury Compensation Program. 2 ECF No. 1. Petitioner alleged that he suffered from
chronic inflammatory demyelinating polyneuropathy as a result of the influenza vaccine he
received on December 7, 2015. Id. at 1. In October 2017, the parties began exploring informal
resolution of the case. See Resp’s Status Rep. at 1, filed Oct. 7, 2017 (ECF No. 15). Eventually the
parties were able to agree to settle the case. While Respondent maintains that the influenza vaccine

1
  Although this Decision has been formally designated “not to be published,” it will nevertheless be posted on the
Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 (2012). This
means the Decision will be available to anyone with access to the internet. As provided by 42 U.S.C. § 300aa-
12(d)(4)(B), however, the parties may object to the Decision’s inclusion of certain kinds of confidential information.
Specifically, under Vaccine Rule 18(b), each party has fourteen days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged
or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision will be available online in its
present form. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660,
100 Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-10 through 34 (2012) (“Vaccine Act” or “the Act”).
             Case 1:17-vv-00628-UNJ Document 57 Filed 04/24/20 Page 2 of 9



did not cause Petitioner’s injury, the parties filed a stipulation on March 12, 2020. See Stip. at 1–
2 (ECF No. 50).

       Based upon my own review of the record, I conclude that the parties’ stipulation (as
attached hereto) is reasonable. I therefore adopt it as my decision in awarding damages on the
terms set forth therein.

         The stipulation awards:

         •    A lump sum of $189,072.65, in the form of a check payable to Petitioner; and
         •    An amount sufficient to purchase an annuity contract as described in Paragraph 10 of
              the parties’ stipulation (as attached hereto).

Stip. at 2. This amount represents compensation for all damages under Section 15(a) of the Act to
which Petitioner is entitled.

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the Court is directed to enter judgment herewith. 3


         IT IS SO ORDERED.

                                                                       /s/ Brian H. Corcoran
                                                                          Brian H. Corcoran
                                                                          Chief Special Master




3
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by each filing (either jointly or separately)
a notice renouncing their right to seek review.

                                                           2
            Case
            Case1:17-vv-00628-UNJ
                 1:17-w-00628-UNJ Document
                                   Document57
                                            50 Filed
                                                Filed04/24/20
                                                      03/12/20 Page
                                                                Page31of
                                                                       of97




                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                 OFFICE OF SPECIAL MASTERS

                                                 )
CAMERON SHARP,                                   )
                                                 )
                       Petitioner,               )
     V.                                          )
                                                 )              No. 17-628V
SECRETARY OF HEALTH                              )              Chief Special Master Corcoran
AND HUMAN SERVICES,                              )              ECF
                                                 )
                      Respondent.                )


                                            STIPULATION

          The parties hereby stipulate to the following matters:

          1. Cameron Sharp, petitioner, filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to -34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of an influenza ("flu') vaccine, which vaccine is contained in the Vaccine Injury Table (the

"Table"), 42 C.F.R. § 100.3 (a).

          2. Petitioner received his flu vaccination on December 17, 2015.

          3. The vaccination was administered within the United States.

          4. Petitioner alleges that he suffered from chronic inflammatory demyelinating

polyneuropathy ("CIDP") as a result of receiving the flu vaccine, and that he experienced the

residual effects of this injury for more than six months.

          5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on his behalf as a result of his condition.

          6. Respondent denies that the flu vaccine caused petitioner to suffer from CIDP or any
            Case
            Case1:17-vv-00628-UNJ
                 1:17-w-00628-UNJ Document
                                   Document57
                                            50 Filed
                                                Filed04/24/20
                                                      03/12/20 Page
                                                                Page42of
                                                                       of97




other injury or his current condition.

       7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

       8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payments:

       a. A lump sum of $189,072.65, which amount represents compensation for first year life
       care expenses ($5,000.00), pain and suffering ($171,000.00) and past unreimbursable
       expenses ($13,072.65) in the form of a check payable to petitioner; and

       b. An amount sufficient to purchase the annuity contract described in paragraph 10
       below, paid to the life insurance company from which the annuity will be purchased (the
       "Life Insurance Company").

       These amounts represent compensation for all damages that would be available under 42
U.S.C. §300aa-15(a).

       9. The Life Insurance Company must have a minimum of$250,000,000 capital and

surplus, exclusive of any mandatory security valuation reserve. The Life Insurance Company

must have one of the following ratings from two of the following rating organizations:

       a.       A.M. Best Company: A++, A+, A+g, A+p, A+r, or A+s;

       b.       Moody's Investor Service Claims Paying Rating: Aa3, Aa2, Aal, or Aaa;

       c.       Standard and Poor's Corporation Insurer Claims-Paying Ability Rating: AA-,
                AA, AA+, or AAA;

       d.      Fitch Credit Rating Company, Insurance Company Claims Paying Ability Rating:
               AA-, AA, AA+, or AAA.

       10. The Secretary of Health and Human Services agrees to purchase an annuity contract

from the Life Insurance Company for the benefit of petitioner, Cameron Sharp, pursuant to


                                                 2
         Case
          Case1:17-vv-00628-UNJ
               1:17-w-00628-UNJ Document
                                 Document57
                                          50 Filed
                                              Filed04/24/20
                                                    03/12/20 Page
                                                              Page53ofof97




which the Life Insurance Company will agree to make payments periodically to petitioner as

follows for all other damages that would be available under 42 U.S.C. §300aa-15(a).

        a. For future unreimbursable Insurance Maximum out of Pocket expenses, beginning on
        the first anniversary of the date of judgment, an annual amount of$5,000.00 to be paid up
        to the anniversary of the date of judgment in year 2025, increasing at the rate of three
        percent (3%), compounded annually from the date of judgment.

       b. For future unreimbursable Affordable Care Act Maximum out of Pocket expenses,
       beginning on the anniversary of the date ofj udgment in year 2025, an annual amount of
       $5,500.00 to be paid up to the anniversary of the date of judgment in year 2064,
       increasing at the rate of three percent (3%), compounded annually from the date of
       judgment.

       c. For future unreimbursable Medicare Part B Deductible expenses, beginning on the
       anniversary of the date of judgment in year 2064, an annual amount of $198.00 to be paid
       for the remainder of petitioner's life, increasing at the rate of three percent (3%),
       compounded annually from the date ofjudgment.

       d. For future unreimbursable Medigap Plan G and Medicare Part D expenses, beginning
       on the anniversary of the date ofjudgment in year 2064, an annual amount of $2,034.36
       to be paid for the remainder of petitioner's life, increasing at the rate of three percent
       (3%), compounded annually from the date of judgment.

At the sole discretion of the Secretary of Health and Human Services, the periodic payments set ·

forth in paragraph 10 above may be provided to petitioner in monthly, quarterly, annual or other

installments. The "annual amounts" set forth above describe only the total yearly sum to be paid

to petitioner and do not require that the payment be made in one annual installment. Petitioner

will continue to receive the annuity payments from the Life Insurance Company only so long as

he, Cameron Sharp, is alive at the time that a particular payment is due. Written notice shall be

provided to the Secretary of Health and Human Services and the Life Insurance Company within

twenty (20) days of Cameron Sharp's death.

       11. The annuity contracts will be owned solely and exclusively by the Secretary of

Health and Human Services and will be purchased as soon as practicable following the entry of a

judgment in confonnity with this Stipulation. The parties stipulate and agree that the Secretary

                                                3
          Case
           Case1:17-vv-00628-UNJ
                1:17-w-00628-UNJ Document
                                  Document57
                                           50 Filed
                                               Filed04/24/20
                                                     03/12/20 Page
                                                               Page64ofof97




of Health and Human Services and the United States of America are not responsible for the

payment of any sums other than the amounts set forth in paragraph 8 herein and the amounts

awarded pursuant to paragraph 12 herein, and that they do not guarantee or insure any of the

future annuity payments. Upon the purchase of the annuity contract, the Secretary of Health and

Human Services and the United States of America are released from any and all obligations with

respect to future annuity payments.

        12. As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-2l(a)(I ), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

        13. Petitioner and his attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa- 15(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act

(42 U.S.C. § 1396 et seq.)), or entities that provide health services on a pre-paid basis.

        14. Payments made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 12 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i),

subject to the availability of sufficient statutory funds.

        15. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation either immediately or as part of the annuity contract, will be used




                                                   4
          Case
           Case1:17-vv-00628-UNJ
                1:17-w-00628-UNJ Document
                                  Document57
                                           50 Filed
                                               Filed04/24/20
                                                     03/12/20 Page
                                                               Page75ofof97




solely for petitioner's benefit as contemplated by a strict construction of 42 U.S.C. §§ 300aa-

15(a) and (d), and subject to the conditions of 42 U.S.C. §§ 300aa-15(g) and (h).

        16. In return for the payments described in paragraphs 8 and 12, petitioner, in his

individual capacity, and on behalf of his heirs, executors, administrato~s, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, j udgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300 aa-10 -et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on December 17, 2015,

as alleged by petitioner in a petition for vaccine compensation filed on or about May 11, 2017, in

the United States Court of Federal Claims as petition No. l 7-628V.

        17. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        18. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        19. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 12 above. There is absolutely no agreement on the part of the



                                                  5
         Case
         Case1:17-vv-00628-UNJ
              1:17-w-00628-UNJ Document
                                Document57
                                         50 Filed
                                             Filed04/24/20
                                                   03/12/20 Page
                                                             Page86of
                                                                    of97




parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

       20. Petitioner hereby authorizes respondent to disclose documents filed by petitioner in

this case consistent with the Privacy Act and the routine uses described in the National Vaccine

Injury Compensation Program System of Records, No. 09-15-0056.

       21. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged CIDP or

any other injury or his current condition.

       22. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                    END OF STIPULATION
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           Case1:17-vv-00628-UNJ
                1:17-w-00628-UNJ Document
                                  Document57
                                           50 Filed
                                               Filed04/24/20
                                                     03/12/20 Page
                                                               Page97of
                                                                      of97




Respectfully submitted,


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ATTORNEY OF RECORD FOR                       AlITHORIZED REPRESENTATIVE
PE TIONER:                                   OF THE ATTORNEY GENERAL:



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AUTHORIZED REPRESENTATIVE                    AITORNEYOFRECORDFOR
OF THE SECRETARY OF HEALTH                   RESPONDENT:
AND HUMAN SERVICES:       )




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